Case 1:04-cv-01126-.]DT-STA Document 42 Filed 06/22/05 Page 1 of 2 Page|D 41

IN THE UNlTED sTATEs olsTRICT CoURT ,<?
FoR THE WESTERN DIsTRlCT oF TENNESSEE ' @ f
EASTERN DIvIsIoN 0 ow%

MICHAEL G. ROBINSON and
FREDER]CK J. IVORY,

Plaimiff,

 

v. No. 04-1126 T/An “Qt}“”
WILLIAM F. HARKNESS, et al.,

Defendants.

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ORDER DENYING MOTION TO S'I`RIKE OR WITHDRAW
AMENDED COMPLAINT

 

Before the Court is Plaintiffs’ Motion to Strike or Withdraw Amended Comp]aint filed
on May 27, 2005. The Local Rules for the Western District ofTennessee require that all motions
filed in the Court shall be “accompanied by a supporting memorandum of facts and law.” Local
RuIe 7.2(3)(1) for the Western District of Tennessee. Plaintiffs failed to tile a supporting
memorandum of facts and law with its Motion. Because Plaintift`s did not tile a memorandum,
the Motion is DENIED Without prejudice Plaintiffs are entitled to re-j'ile the instant Motion, so
long as the Motion complies with the Local Rules for the Western District of Tennessee.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE J UDGE

Date; Q’M.¢ Zz(, 200{
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Thl`s document entered on the docket sheet In compliance
with Ru|e 58 and,'or_?$ {a) FHCP on QLQ '¢?5‘0¢3

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:04-CV-01126 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

John S. Little
WALDROP & HALL
106 S. Liberty Street
Jacl<son7 TN 38301--072

Katherine B. Steuer

LAW OFFICE OF KATHERINE B. STEUER
80 l\/lonroe Ave.

Ste. 505

l\/lemphis7 TN 38103

R. Dale Thomas

RAINEY KIZER BUTLER REVIERE & BELL
105 S. Highland Avenue

Jacl<son7 TN 38302--114

T. Verner Smith
112 N. Liberty
Jacl<son7 TN 38302

Honorable .l ames Todd
US DISTRICT COURT

